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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                       Atlanta Division


EMMA KOE et al.,

                       Plaintiffs,        Case No. _________________
               v.

CAYLEE NOGGLE et al.,

                       Defendants.




             DECLARATION OF SUSAN ELISSA HALLA
   I, Susan Elissa Halla, hereby declare and state as follows:

1. I am over the age of eighteen, of sound mind, and in all respects competent

   to testify. I have personal knowledge of the information contained in this

   Declaration and would testify completely to those facts if called to do so.

2. I am the Board President of TransParent and a mother of a transgender child

   who is now an adult. TransParent is a 501(c)(3) not-for-profit organization

   with a mission to bring compassionate support to parents navigating

   complex issues that arise in raising their transgender children.

3. TransParent was founded in 2011, when a group of parents based in St.

   Louis, Missouri started having monthly meetings to discuss their


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   experiences raising transgender children. These parents met in hopes of

   finding connection, support, and resources. In 2013, TransParent invested in

   a website that allowed TransParent to organize and share local professional

   resources in transgender care, including pediatricians, endocrinologists,

   therapists, surgeons, and transgender-friendly schools. Today, TransParent is

   comprised of nineteen chapters in eleven states across the country—all of

   whom continue to gather in monthly meetings to share resources and support

   one another’s families.

4. TransParent serves three primary purposes for its members: connection,

   resources, and visibility.

      a. Parents of transgender children can often feel isolation and loneliness

         while navigating the unique experiences of raising their children.

         TransParent chapters offer safe spaces for parents to be open about

         their feelings, giving them strength and confidence to support and to

         become advocates for their children.

      b. TransParent also provides its members with expert resources to assist

         families with their children’s gender journey. These resources include

         news articles, blogs, videos and podcasts with information specific to

         raising transgender children, books with information for families,




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         educational materials like fact sheets, and ways to connect with local

         medical, legal, and other support professionals.

      c. Finally, TransParent creates a welcoming network for its members’

         families so that they feel seen, heard, and supported by their

         communities at large.

5. TransParent consists of two interrelated parts: a national organization and its

   individual local chapters. The national organization hosts monthly virtual

   chapter meetings, while the local chapters typically host monthly in-person

   meetings.

6. TransParent’s national organization is led by a Board of Directors. I serve as

   the President of the Board. I was elected to the position starting January 1st,

   2022. The Board is also comprised of a Vice President, Secretary, Treasurer,

   At-Large Chapter Chair, Committee Members, and Advisors. Board

   members are selected by members of the existing Board, who conduct

   interviews of candidates and then vote on those candidates. Board members

   serve two consecutive three-year terms.

7. Local chapters are led by individual chapter leaders, who must be the parent

   or guardian of a gender-expansive child. Chapter leaders organize and

   oversee monthly support meetings and provide organized resources to

   member families.


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8. In order for individuals to join local TransParent chapters, they must also be

   the parents or guardians of a gender-expansive child. Typically, chapter

   leaders require those individuals to submit an application confirming as

   much before they are admitted as members and allowed to attend the

   monthly support meetings.

9. Local chapter leaders take attendance at each monthly support meeting.

   They send that attendance information to TransParent’s national

   organization to keep track of membership. Accordingly, members of local

   TransParent chapters are also members of the national organization.

10. Individual chapters are formed by an application process. Individuals must

   fill out an application explaining why they want to start a TransParent

   Chapter in their community, detail the level of commitment they have to

   starting and growing a local chapter, and identify the geographical areas they

   expect to support. Applicants must also state how many parents and families

   they expect to attend their local chapter group meetings, and whether they

   have an assigned meeting location that is confirmed by an agreement with

   the facility. Additionally, applicants must adhere to TransParent’s privacy

   policy and confidentiality agreement and agree to a criminal background

   check.




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11. As of today, TransParent has local chapters in Oregon, Arizona, Texas,

   Missouri, Illinois, Indiana, Tennessee, Mississippi, Florida, Virginia, and

   Georgia.

12. S.B. 140’s ban on gender-affirming medical care for minors directly

   implicates each prong of TransParent’s mission.

      a. TransParent has worked tirelessly through its community-building and

         advocacy efforts to help transgender children and their families feel

         connected to one another, and to feel visible and valued in their

         communities. S.B. 140 specifically targets transgender children and

         eliminates their access to safe, effective, and affirming medical care.

         This further stigmatizes transgender children—deepening the social

         isolation and ostracization experienced by those children and their

         families that TransParent is actively fighting to eliminate.

      b. Moreover, TransParent has spent over a decade compiling and

         organizing resources for its members about how to access gender-

         affirming medical care. S.B. 140 eliminates key forms of gender-

         affirming medical care, including access to hormone therapy. The ban

         therefore prevents TransParent from providing its members with

         resources to connect them to experts and providers to render that

         care—a key function of the organization.


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13. When the Georgia legislature passed S.B. 140, banning essential gender-

   affirming medical care for transgender minors, both our Georgia chapter and

   national organization heard an immediate outcry from TransParent members.

   Parents were scared that they would no longer be able to access hormone

   therapy for their children—a critical component of the standard of care for

   treating gender dysphoria. They feared that S.B. 140 would further isolate

   and ostracize their children, and increase the risk they succumb to anxiety,

   depression, and suicidal ideations.

14. TransParent exists to prevent these outcomes. Our organization seeks to

   foster a world where transgender children can become thriving, healthy, and

   happy adults—and their parents feel supported and empowered in

   facilitating that process.




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I declare under penalty of perjury that the foregoing is true and correct.

Executed this 28th day of June, 2023.

   Respectfully Submitted,

   __________________________

   Susan Halla




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